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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY

JAQUOLINE WALKER,

                    Plaintiff,                                3:20-cv-348-CRS
                                                   Case No.: ____________

       v.                                           Removed from
                                                    Jefferson Circuit Court
PRUDENTIAL INSURANCE COMPANY OF                     Division Five
AMERICA DISABILITY MANAGEMENT                       Civil Action No. 20-CI-002605
SERVICES,

                    Defendant.



                           PRUDENTIAL’S NOTICE OF REMOVAL

      Defendant, The Prudential Insurance Company of America (“Prudential”) (incorrectly

named “Prudential Insurance Company of America Disability Management Services”), pursuant

to 28 U.S.C. §§ 1331, 1441, and 1446, hereby files this Notice of Removal with respect to the

above captioned case, which was filed and is currently pending in Jefferson Circuit Court,

Division Two, Case No. 20-CI-002605. In support of this Notice of Removal, Prudential states

the following:

                                  Timeliness And Background

       1.        On April 21, 2020, Plaintiff Jaquoline Walker (“Plaintiff”) commenced a civil

action against Prudential by filing a complaint in Jefferson Circuit Court, Division Two. The

lawsuit is recorded on that court’s docket as Case No. 20-CI-002605. There are no other parties

named in Plaintiff’s complaint.

       2.        Prudential was served with the Complaint on April 29, 2020 through the

Kentucky Secretary of State. Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of

Plaintiff’s complaint, which constitutes “all summons, pleadings, and orders” served upon
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Prudential in the state court action, is attached hereto as Exhibit A. Because Prudential has filed

this Notice of Removal within thirty days of service, this Notice of Removal is timely. See 28

U.S.C. § 1446(b).

                                   Federal Question Jurisdiction

        3.      In her Complaint, Plaintiff alleges a claim under §502 of the Employment

Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §1132, seeking long-term

disability (“LTD”) benefits allegedly due to her under an insurance plan offered by her former

employer, JP Morgan Chase Bank, N.A. (the “plan”). (See Ex. A, Compl. ¶¶ 3-6, 21-22.) See 29

U.S.C. § 1132(a)(1)(B) (“A civil action may be brought (1) by a participant or beneficiary . . .

(B) to recover benefits due to him under the terms of his plan, to enforce his rights under the

terms of the plan, or to clarify his rights to future benefits under the terms of the plan . . . .”).

        4.      Even if Plaintiff did not explicitly invoke ERISA in bringing suit, ERISA would

provide an exclusive federal cause of action for participants or beneficiaries in an ERISA plan

who bring actions related to the recovery of benefits under employee benefit plans, including any

breach of contract claim alleged in the Complaint. Metro. Life Ins. Co. v. Taylor, 481 U.S. 58,

62-63 (1987); Rush Prudential HMO Inc. v. Moran, 536 U.S. 355 (2002).

        5.      Plaintiff’s Complaint, on its face, alleges a claim for benefits brought pursuant to

ERISA (see Ex. A., Compl. ¶¶ 3, 4, 21, 22, wherefore clause), and thus alleges a claim under the

laws of the United States within the meaning of 28 U.S.C. § 1331. For this reason, this action is

removable to this Court pursuant to 28 U.S.C. § 1441(a).

        6.      Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed by the
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defendant or the defendants to the district court of the United States for the district and division

embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

       7.      The Court thus has original jurisdiction over these claims pursuant to 28 U.S.C. §

1331, and removal is proper under 28 U.S.C. § 1441.

                                            Venue and Notice

       8.      Removal is appropriate “to the district court of the United States for the district

and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a). Pursuant

to 28 U.S.C. § 97(b), this Court embraces Jefferson County, the location of Jefferson Circuit

Court, Division Two, the place where the removed action had been pending. 28 U.S.C.

§ 1441(a). Accordingly, this Court is the appropriate venue for removal of this action. 28 U.S.C.

§ 1441(a).

       9.      Prompt written notice of this Notice of Removal will be sent to Plaintiff through

her counsel, and to the Clerk of Court for Jefferson Circuit Court, Division Two, as required by

28 U.S.C. § 1446(d). A copy of this notice is attached hereto as Exhibit B.

       10.     Should Plaintiff seek to remand this case to state court, Prudential respectfully

asks that it be permitted to brief and argue the issue of this removal prior to any order remanding

this case. In the event the Court decides that remand is proper, Prudential asks that the Court

retain jurisdiction and allow Prudential to file a motion asking this Court to certify any remand

order for interlocutory review by the Sixth Circuit Court of Appeals, pursuant to 28 U.S.C.

§ 1292(b).

       WHEREFORE, Defendant, the Prudential Insurance Company of America, submits that

this action properly is removable based on federal question jurisdiction and respectfully requests

that the above-described action pending against it be removed to the United States District Court
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for the Western District of Kentucky. Prudential also requests all other relief, at law or in equity,

to which it is justly entitled.



DATED: May 18, 2020                                Respectfully submitted,

                                                   THE PRUDENTIAL INSURANCE
                                                   COMPANY OF AMERICA



                                                   By: /s/ Buddy J. VanCleave
                                                       Attorney for Prudential
Buddy J. VanCleave
Quintairos, Prieto, Wood & Boyer, PA
9300 Shelbyville Road, Suite 400
Louisville, KY 40222
Phone: 502-423-6390
Fax: 502-423-6391
Email: buddy.vancleave@qpwblaw.com
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                                CERTIFICATE OF SERVICE


       I hereby certify that I have caused a true and correct copy of the foregoing

PRUDENTIAL’S NOTICE OF REMOVAL to be served upon the following, using the Court’s

ECF filing system on this 18th day of May 2020:



                                     Robert A. Florio
                                     1500 Story Ave
                                     Louisville, KY 40206
                                     Co-Counsel for Plaintiff
                                     Telephone: 502-587-0228
                                     Email: robertfloriolaw@outlook.com


                                             By: /s/ Buddy J. VanCleave
                                                Attorney for Prudential
